
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Plaintiff on the 22nd day of June 2004 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Defendants (Wades), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 2nd day of December 2004."
Upon consideration of the petition filed on the 22nd day of June 2004 by Plaintiff in this matter for discretionary review of the order of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 2nd day of December 2004."
